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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION


 ANGELA R. MORTIMORE,
                                                  Case No. 3:18-cv-02133-YY
                                 Plaintiff,

                     v.                           ORDER FOR FEES UNDER 42 U.S.C. §
                                                  406(b)
 COMMISSIONER, SOCIAL SECURITY
 ADMINISTRATION,

                                 Defendant.


       Plaintiff brought this action seeking review of the Commissioner of the Social Security

Administration’s final decision to deny Plaintiff’s application for Disability Insurance Benefits

under Title II of the Social Security Act. This Court remanded the case for an immediate

payment of benefits. ECF Dkt. 15.

       Plaintiff now seeks an award of fees pursuant to 42 U.S.C. § 406(b). After substantive

consideration, Defendant found no basis to object to Plaintiff’s request. ECF Dkt. 22. This

Court finds the requested fees are reasonable.

       Plaintiff’s motion [ECF Dkt. 21] is granted, and Plaintiff’s counsel is awarded

$18,443.50 in attorney fees under 42 U.S.C. § 406(b). Previously, the Court awarded Plaintiff

$7,207.77 in fees under the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412.




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       When issuing the Section 406(b) check for payment to Plaintiff’s attorney, the

Commissioner is directed to subtract the amount previously awarded under EAJA and send

Plaintiff’s attorney, Jamie M. Evans, the balance of $11,235.73, less any applicable processing

fee prescribed by law. The Section 406(b) check should be mailed to Jamie M. Evans at the

attorney’s mailing address of 222 NE Park Plaza Drive, Suite 113, Vancouver, WA 98684.

       IT IS SO ORDERED.

       DATED this 16th day of October, 2020.



                                                              /s/ Youlee Yim You
                                                            Youlee Yim You
                                                            United States Magistrate Judge




Proposed Order submitted on October 14, 2020.

/s/ Jamie M. Evans
H. Peter Evans, OSB 117064
Attorney for Plaintiff
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